            Case 1:17-cv-11008-MLW Document 285 Filed 05/21/18 Page 1 of 15



                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS

     JANSSEN BIOTECH, INC.

                                        Plaintiff,              Civil Action No. 1:17-cv-11008-MLW

                              v.                                PUBLIC
                                                                REDACTED VERSION
     CELLTRION HEALTHCARE CO., LTD.,
     CELLTRION, INC., and HOSPIRA, INC.                         REQUEST FOR ORAL ARGUMENT

                                       Defendants.

           DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION
            IN LIMINE NO. 11: TO PRECLUDE EVIDENCE AND ARGUMENT
         REGARDING PRE-SUIT COMMUNICATIONS PURSUANT TO THE BPCIA

I.         INTRODUCTION

           The Court should preclude Janssen from presenting evidence or argument that pre-

litigation Biologics Price Competition and Innovation Act (“BPCIA”) exchanges between

Celltrion’s outside counsel and Janssen’s outside counsel indicate that Celltrion (or Hospira) knew

that the accused GE HyClone cell culture media infringe the ’083 patent, under Fed. Rs. Evid. 401,

402, and 403.

           To prove induced infringement, Janssen must show “the defendant[s] knew of the patent

and that ‘the induced acts constitute patent infringement.’” Commil USA, LLC v. Cisco Sys., Inc.,

135 S.Ct. 1920, 1926 (2015) (citation omitted). In a strained attempt to prove Defendants “knew”

they infringed, Janssen intends to offer Celltrion’s February 2015 BPCIA Detailed Statement,

which provides reasons why Celltrion believed it does not infringe the ’083 patent. As Janssen’s

“theory” goes,




1
    Unless otherwise noted, docket citations in this motion refer to Civ. No. 15-10698.



                                                            1
        Case 1:17-cv-11008-MLW Document 285 Filed 05/21/18 Page 2 of 15



        Janssen argues that the Detailed Statement was misleading for two reasons.




     Janssen does not dispute that the statements are 100% accurate; indeed Defendants rely on

these same facts to this day as part of their noninfringement defense.

        The Court should preclude Janssen from using these allegedly “misleading” statements

because any such arguments would be severely prejudicial, highly misleading, and confusing to

the jury.

        First, Celltrion fully complied with the law, and Janssen should not be permitted to argue

otherwise. Celltrion was not required to provide any information to Janssen, let alone what Janssen

says was misleadingly omitted. See Sandoz Inc. v. Amgen Inc., 137 S. Ct. 1664, 1676 (2017). And

Celltrion’s Detailed Statement includes exactly what the BPCIA optionally specifies: non-

infringement contentions. 42 U.S.C. § 262(l)(3)(B)(ii)(I). Absent a requirement to provide the

information at all, it cannot be misleading to present Celltrion’s infringement defenses in this way.

And this case is complex enough (including, e.g., infringement theories under §§ 271(a), (b), and

(f), agency and enterprise theories, and invalidity) without getting into the requirements of the

exchanges under the BPCIA, which has been described as “a riddle wrapped in a mystery inside

an enigma.” Amgen Inc. v. Sandoz Inc., 794 F.3d 1347, 1351 n.1 (Fed. Cir. 2015), rev'd in part,




                                                 2
        Case 1:17-cv-11008-MLW Document 285 Filed 05/21/18 Page 3 of 15



vacated in part, 137 S. Ct. 1664 (2017). Janssen’s effort would only confuse the jury on an

irrelevant issue.

        Second, Janssen should not be able to argue about what was legally required and what was

included by cross-examining Celltrion scientist Jong Moon Cho, as Janssen intends, Ex. 1 (May

11, 2018 counsel correspondence),



                    And Mr. Cho can give no relevant testimony about Hospira’s knowledge. If

Janssen were permitted to cross-examine Mr. Cho about a document prepared by counsel, to avoid

prejudice in their ability to rebut Janssen’s arguments, Defendants would be required to respond

by calling their trial counsel as a witness to testify about what they believe the law requires and

introducing other counsel correspondence to provide a fuller picture, all while protecting the

attorney-client privilege. The distraction and prejudice would be palpable.

        Defendants would also have to call Janssen’s counsel to show that Janssen’s claims of

being misled are disingenuous.




        Arguments and evidence about pre-trial correspondence between counsel should not be

paraded before a lay jury.




                                                3
        Case 1:17-cv-11008-MLW Document 285 Filed 05/21/18 Page 4 of 15



       Janssen should not be allowed to cross-examine a Celltrion employee regarding truthful

non-infringement contentions, which he did not write, in order to imply that Celltrion failed to

abide by non-existent obligations. Janssen’s effort would be a baseless and irrelevant attempt to

disparage counsel’s truthfulness and Celltrion’s non-infringement positions.

II.    FACTUAL BACKGROUND

       In December 2014, Janssen’s counsel sent Celltrion a letter pursuant to the BPCIA listing

patents in connection with Celltrion’s FDA application for marketing approval of Inflectra®. Dkt.

369 Ex. 5. Janssen identified the ’083 patent as potentially infringed. Id.

       In December 2014, Celltrion scientist JongMoon Cho




       In February 2015, Celltrion’s counsel sent Janssen a 53-page letter pursuant to the BPCIA

(the “Detailed Statement”),




Janssen does not dispute that Celltrion uses the media outside of the United States.


                                                  4
        Case 1:17-cv-11008-MLW Document 285 Filed 05/21/18 Page 5 of 15




                                                       Janssen does not dispute that the accused media

have these literal differences from the claims of the ’083 patent.

        In 2016, during summary judgment briefing on liability issues, Janssen tried to show

Defendants “knew” they infringed based on the same theory as now, using the December 2014

and February 2015 BPCIA letters, as well as numerous prior and subsequent emails between the

parties’ counsel. Dkt. 366 at 6–14; see also Dkt. 424 at 2–6; Dkt. 281 at 13–14. Thus, before the

scheduled liability trial, Defendants filed Motion in limine No. 3 to preclude evidence and

argument regarding discovery communications among outside counsel. See Dkts. 365, 366. That

motion sought to exclude these same arguments, but particularly targeted Janssen’s intent to rely

on informal discovery requests and BPCIA correspondence as purportedly showing the requisite

intent to infringe and belief of infringement. See Dkt. 366. Though Janssen narrowed the evidence

it sought to proffer, Dkt. 424 at 6–7, that did not address Defendants’ objections.

        During the parties’ recent discussions regarding the current motions in limine deadline,

Janssen informed Defendants that it “does not intend to introduce evidence regarding discovery

correspondence” and thus believes Motion in limine No. 3 is moot. Ex. 1 (May 11, 2018 counsel

correspondence). But it still intends to “introduce evidence relevant to Defendants’ state of mind .

. . by cross-examining Jong Moon Cho” regarding Defendants’ February 5, 2015 Detailed

Statement. Id. Thus, Janssen plans to make essentially the same arguments Defendants previously

objected to, in a slightly different way.2


2
    It is unclear if Janssen will argue that Mr. Cho
                                                                                         That also would


                                                       5
           Case 1:17-cv-11008-MLW Document 285 Filed 05/21/18 Page 6 of 15



III.       ARGUMENT

           The Court should not permit Janssen to argue that the two allegedly “misleading”

statements show that Defendants knew they infringed. Janssen’s arguments have no probative

value because they are irrelevant and factually baseless, see Dkt. 366 at 6–14, and, of equal

importance, are highly prejudicial. The Court should exclude them under Rules 401, 402, and 403.

See Windsor Shirt Co. v. N.J. Nat. Bank, 793 F. Supp. 589, 616 (E.D. Pa. 1992), aff'd, 989 F.2d

490 (3d Cir. 1993) (evidence of “low probative value” excluded where “it would consume too

much trial time”); United States v. Rodriguez-Berrios, 573 F.3d 55, 70 (1st Cir. 2009) (cross-

examination regarding victim’s affair with district attorney properly excluded under “Rule

403 because of its high potential for prejudice compared to its low probative value.”); Pinkham v.

Burgess, 933 F.2d 1066, 1071 (1st Cir. 1991) (“‘When evidence with great potential to confuse is

of questionable relevance, limited probative value, or both, courts will usually exclude it.’”

(quoting 10 Moore’s Federal Practice § 403.12 at IV-82 (1988))).

           A.       Celltrion Complied with the BPCIA, Making the BPCIA Correspondence
                    Irrelevant

           The Court should preclude Janssen from using these allegedly “misleading” statements

because Celltrion fully complied with the law and Janssen should not be permitted to argue

otherwise.

                                                          in fact, Celltrion was not required to provide any

information at all: “when an applicant declines to provide its application and manufacturing




       be improper for the reasons previously provided to the Court. See Dkt. 366 at 12–14. Moreover, Janssen’s lead
       counsel acknowledged that he was “not accusing them of, you know, intentionally not finding the material in the
       locked box.” Dkt. 369 Ex. 34 (December 22, 2016 Hearing Tr.) at 5:5–20.



                                                           6
        Case 1:17-cv-11008-MLW Document 285 Filed 05/21/18 Page 7 of 15



information to the sponsor” it “does not violate the BPCIA.”3 Sandoz, 137 S. Ct. at 1676; see also

Amgen Inc. v. Sandoz Inc., 877 F.3d 1315, 1319 (Fed. Cir. 2017). With no obligation to partake in

the BPCIA “patent dance,” provide a detailed statement, or provide any information at all, the fact

that Celltrion voluntarily provided accurate information regarding non-infringement positions it

still holds is neither relevant nor misleading, nor probative evidence of “guilty knowledge,” simply

because Janssen takes the view that Celltrion should have provided more information.

        Moreover, Celltrion complied with the BPCIA in any event. It provided Janssen with

                    and the Detailed Statement, which provides exactly what the BPCIA (optionally)

specifies: a “descri[ption], on a claim by claim basis, [of] the factual and legal basis of [Celltrion’s]

opinion . . . that such patent is invalid, unenforceable, or will not be infringed.” 42 U.S.C.

§ 262(l)(3)(B)(ii)(I). Janssen’s argument that the Detailed Statement is misleading because it

omitted certain information makes no sense—Janssen asserts that Celltrion should have included

information not required under the statute, i.e., information which is not “the factual and legal

basis of [Celltrion’s] opinion” that the ’083 patent “will not be infringed.” At best, Janssen’s

complaints are a thinly-veiled discovery dispute that “should not be presented to the [factfinder].”

See Mformation Techs., Inc. v. Research in Motion Ltd., No. C-08-04990-JW, 2012 WL 2339762,

at *2 (N.D. Cal. June 7, 2012).

        Finally, Janssen has no other claim for which the alleged omission of information from the

Detailed Statement could be relevant. Janssen’s original complaint purported to raise a claim based

on Celltrion’s failure to provide this information, but it dismissed that claim with prejudice. Dkt.

582 at 2. This case is already inordinately complex. The jury will have to parse infringement



3
    If the applicant declines to provide information, the sponsor has the ability to file an immediate declaratory
    judgment action, which Janssen did in 2015. See 42 U.S.C. § 262(l)(9)(C); Dkt. 1.



                                                        7
        Case 1:17-cv-11008-MLW Document 285 Filed 05/21/18 Page 8 of 15



theories under §§ 271(a), (b), and (f), agency and enterprise theories, invalidity theories, lost profits

theories, reasonable royalty theories, non-infringing alternatives, and many other issues. There is

no need for them to also be saddled with interpreting the exchange requirements of the BPCIA,

e.g., under 42 U.S.C. §§ 262(l)(2)(A) and (l)(3)(B)(ii)(I), which are convoluted, irrelevant, and

only likely to confuse. Even the Federal Circuit has described the BPCIA as “a riddle wrapped in

a mystery inside an enigma.” Amgen, 794 F.3d at 1351 n.1, rev'd in part, vacated in part, 137 S.

Ct. 1664 (2017). Adding this level of confusion is unnecessary and would be inappropriate. The

Court should exclude this highly prejudicial and improper argument under Rules 401–403.

        B.      Testimony From Mr. Cho on the Detailed Statement Would be Irrelevant and
                Confusing, Necessitating that Defendants’ Trial Counsel Testify

        Janssen’s plan to cross-examine Celltrion scientist Mr. Cho to establish Defendants’

“guilty knowledge” is also highly improper and prejudicial.




                                                                   Thus, Janssen’s arguments have no

probative value, but would be confusing and unduly prejudicial.

        To rebut Janssen’s effort, Defendants would be forced to call their trial counsel, Charles

Klein, who signed the Detailed Statement, to testify, or suffer prejudice in their ability to rebut

Janssen. Defendants would need Mr. Klein to explain his understanding of the law and his bases



                                                   8
        Case 1:17-cv-11008-MLW Document 285 Filed 05/21/18 Page 9 of 15



for the statements in the letter, i.e., how the Detailed Statement is true and that Janssen was not

misled. Moreover, Mr. Klein would need to do so while still protecting the attorney-client privilege

and attorney work product privilege. This can only be distracting and confusing for the jury.

       As Courts have recognized, this would be incredibly prejudicial and raise serious privilege

concerns, which merits exclusion of the proposed evidence and argument. See Galarneau v.

Merrill Lynch, Pierce, Fenner & Smith Inc., 504 F.3d 189, 206 (1st Cir. 2007), as amended (Nov.

30, 2007). In Galarneau, the First Circuit affirmed the exclusion of evidence which “would likely

require testimony from the attorneys as to the motivations behind the proposed U–5 language and

Merrill Lynch’s refusal to adopt it.” Id. The same is true here, but even more so; Janssen’s approach

puts Defendants’ entire litigation strategy on trial and exposes trial counsel to cross examination

with the Court’s orders issued long after counsel sent the Detailed Statement.

       Defendants would also have to call Janssen’s counsel to confirm that the factual claims in

the Detailed Statement are unquestionably true and never misled Janssen. For instance, Janssen

argues that




       But Janssen lacks any basis to suggest this was misleading, much less that Celltrion was

attempting to mislead.




                                                 9
        Case 1:17-cv-11008-MLW Document 285 Filed 05/21/18 Page 10 of 15




        Janssen’s argument that Celltrion was trying to be deceptive stands on an absurd premise:

that Celltrion agreed with Janssen’s flawed agency theory at the time of the Detailed Statement,

even though Janssen had not raised such a theory at that time. The fact that Janssen now relies on

this theory is irrelevant—it cannot be a “misleading omission” to not address a theory Janssen had

not yet advanced, nor can it demonstrate that Celltrion “knew” it infringed.4



4
    And even had it considered the issue, Celltrion has a strong basis to believe no agency existe




                                                         10
       Case 1:17-cv-11008-MLW Document 285 Filed 05/21/18 Page 11 of 15



        Janssen also argues the Detailed Statement was misleading because




        But, Celltrion’s statements are literally true and defenses to infringement Defendants

continue to pursue in this case. See, e.g., Dkt. 343 Ex. A (Glacken Reb. Rpt.) ¶¶ 55–56; No. 17-

11008, Dkt. 67 at 49, 53. Janssen’s argument to the contrary again requires the assumption that

Celltrion envisioned Janssen’s 12-way doctrine of equivalents agency theory at the time of the

Detailed Statement, even though Janssen had never hinted at this approach at that time. Dkt. 424

at 4–5. It also requires the unfounded assumption




                                                          Again, it cannot be “misleading” to not

respond to a theory not yet asserted, nor can it demonstrate that Celltrion “knew” it infringed. And

demonstrating that Janssen was not misled will require Defendants to call, for example, Janssen’s

counsel to testify.

        As to Janssen’s attempt to impugn Celltrion for




                                                11
       Case 1:17-cv-11008-MLW Document 285 Filed 05/21/18 Page 12 of 15




                                                              Rebutting Janssen’s unfounded attack

again will involve Defendants calling Janssen’s counsel to show Janssen was not misled. Trying

to twist Celltrion’s compliance with a confidentiality obligation into “misleading” statements

showing “guilty knowledge” of infringement would be unduly prejudicial, but not probative.

       In order to explain that the Detailed Statement is true and not misleading, while examining

either their own or Janssen’s trial counsel, Defendants would likely have to introduce the very

same (or related) counsel correspondence that Janssen has indicated it would not offer at trial, in

its effort to moot Defendants’ Motion in limine No. 3. This could include, for example,




                                                     This would end-run Janssen’s agreement not to

introduce that correspondence by forcing Defendants to use it in rebuttal. And Janssen may use

Defendants’ rebuttal to later argue that Defendants opened the door to Janssen introducing still

further counsel correspondence that it agreed not to offer.

       This entire issue would be a side-show, a mini-trial on an irrelevant discovery issue, and a

waste of time and energy for the parties, the jury, and the Court. See Lund v. Henderson, 807 F.3d

6, 11 (1st Cir. 2015) (district court has “wide discretion” to exclude evidence which “would have

turned this trial into a series of mini-trials”); United States v. George, 761 F.3d 42, 57 (1st Cir.

2014) (proper to exclude evidence which “could have ended up with a mini-trial about a side

issue—Hansen's innocence of charges not made—that might have confused the jury.”); Windsor

Shirt Co., 793 F. Supp. at 616, aff'd, 989 F.2d 490 (3d Cir. 1993) (Evidence of “low probative

value” excluded where “it would consume too much trial time.”); Rodriguez-Berrios, 573 F.3d at




                                                12
       Case 1:17-cv-11008-MLW Document 285 Filed 05/21/18 Page 13 of 15



70 (Cross-examination regarding victim’s affair with district attorney properly excluded under

“Rule 403 because of its high potential for prejudice compared to its low probative value.”). The

Court should not allow Janssen to cross-examine a Celltrion employee regarding truthful non-

infringement contentions he did not write, in order to imply that Celltrion’s failure to abide by

non-existent obligations shows knowledge of infringement. Janssen’s arguments and evidence will

not help advance the jury’s understanding of this case, but only confuse them.

IV.    CONCLUSION

       The Court should not allow Janssen to present irrelevant and baseless accusations to the

jury. Janssen should not be allowed to introduce any pre-litigation correspondence, including the

December 2014 BPCIA patent list and the February 2015 BPCIA Detailed Statement, cross

examine Mr. Cho on such correspondence or other BPCIA-exchange related issues, or argue that

Defendants’ voluntary pre-litigation correspondence was misleading, or that it shows that Celltrion

“knew” it infringed.




                                                13
     Case 1:17-cv-11008-MLW Document 285 Filed 05/21/18 Page 14 of 15



Dated: May 21, 2018                Respectfully submitted,

                                   Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                   and Hospira, Inc.

                                   By their attorneys,

                                   /s/Andrea L. Martin, Esq. ______________
                                   Dennis J. Kelly (BBO # 266340)
                                   Andrea L. Martin (BBO #666117)
                                   BURNS & LEVINSON LLP
                                   125 Summer Street
                                   Boston, MA 02110-1624
                                   Telephone: 617-345-3000
                                   Facsimile: 617-345-3299
                                   dkelly@burnslev.com
                                   amartin@burnslev.com

Of counsel:                        James F. Hurst, P.C. (pro hac vice)
                                   Bryan S. Hales, P.C. (pro hac vice)
Charles B. Klein (pro hac vice)    Elizabeth A. Cutri (pro hac vice)
WINSTON & STRAWN LLP               KIRKLAND & ELLIS LLP
1700 K Street, N.W.                300 North LaSalle
Washington, D.C. 20006-3817        Chicago, IL 60654
Tel: (202) 282-5000                Tel: (312) 862-2000
cklein@winston.com                 james.hurst@kirkland.com
                                   bryan.hales@kirkland.com
Samuel S. Park (pro hac vice)      elizabeth.cutri@kirkland.com
Dan H. Hoang (pro hac vice)
WINSTON & STRAWN LLP               Ryan Kane (pro hac vice)
35 W. Wacker Drive                 James McConnell (pro hac vice)
Chicago, IL 60601-9703             KIRKLAND & ELLIS LLP
Tel: (312) 558-7931                601 Lexington Avenue
spark@winston.com                  New York, NY 10022
dhoang@winston.com                 ryan.kane@kirkland.com
                                   james.mcconnell@kirkland.com

                                   Noah S. Frank (pro hac vice)
                                   KIRKLAND & ELLIS LLP
                                   655 Fifteenth St., N.W.
                                   Washington, DC 20005
                                   noah.frank@kirkland.com

                                   Attorneys for Defendants Celltrion Healthcare
                                   Co., Ltd., Celltrion, Inc., and Hospira, Inc.




                                    14
       Case 1:17-cv-11008-MLW Document 285 Filed 05/21/18 Page 15 of 15



                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on May 21,
2018.



                                                  /s/Andrea L. Martin, Esq.
                                                  Andrea L. Martin, Esq.




                                                 15
